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                                   8                                   UNITED STATES DISTRICT COURT
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                                                                      NORTHERN DISTRICT OF CALIFORNIA
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                                                                             SAN JOSE DIVISION
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                                  12    FEDERAL TRADE COMMISSION, et al.,                  Case No. 17-CV-00220-LHK
Northern District of California
 United States District Court




                                  13                    Plaintiffs,                        ORDER CONTINUING FURTHER
                                                                                           CASE MANAGEMENT CONFERENCE
                                  14               v.

                                  15    QUALCOMM INCORPORATED, et al.,
                                  16                    Defendants.

                                  17
                                        IN RE: QUALCOMM ANTITRUST                          Case No. 17-MD-02773-LHK
                                  18    LITIGATION
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                                              The Court hereby CONTINUES the April 24, 2018 further case management conference to
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                                       May 4, 2018 at 11:00 a.m. The parties shall file their joint case management statement by April
                                  25
                                       30, 2018.
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                                       IT IS SO ORDERED.
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                                       Case Nos. 17-CV-00220-LHK & 17-MD-02773-LHK
                                       ORDER CONTINUING FURTHER CASE MANAGEMENT CONFERENCE
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                                   2   Dated: April 23, 2018

                                   3                                       ______________________________________
                                                                           LUCY H. KOH
                                   4                                       United States District Judge
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Northern District of California
 United States District Court




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                                       Case Nos. 17-CV-00220-LHK & 17-MD-02773-LHK
                                       ORDER CONTINUING FURTHER CASE MANAGEMENT CONFERENCE
